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                EXHIBIT A
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                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,

                   Plaintiff,
                                            23 Civ. 04738 (KPF)
v.

COINBASE, INC. and
COINBASE GLOBAL, INC.

                   Defendants.



        BRIEF OF AMICUS CURIAE NORTH AMERICAN SECURITIES
        ADMINISTRATORS ASSOCIATION, INC. IN SUPPORT OF THE
               SECURITIES AND EXCHANGE COMMISSION



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                          IDENTITY AND INTEREST OF AMICUS CURIAE

         The North American Securities Administrators Association, Inc. (“NASAA”) is the non-

profit association of state, provincial, and territorial securities regulators in the United States,

Canada, and Mexico. NASAA has 68 members, including the securities regulators in all 50 states,

the District of Columbia, Puerto Rico, the U.S. Virgin Islands, and Guam. Formed in 1919,

NASAA is the oldest international organization devoted to protecting investors from fraud and

abuse in the offer and sale of securities. NASAA’s U.S. members are responsible for regulating

transactions under state securities laws, commonly known as “Blue Sky Laws.” The overriding

mission of NASAA and its members is to protect investors, particularly retail investors, from fraud

and abuse.

         NASAA and its members have a substantial interest in this case. While there is nothing

inherently fraudulent about digital assets per se, 1 they have proven attractive to fraudsters to prey

on investors’ fear of missing out and fears of economic insecurity. See Press Release, “NASAA

Highlights Top Investor Threats for 2023” (Apr. 20, 2023), https://bit.ly/3Q7aL3T. Digital assets

are consistently cited as one of the most dangerous threats to investors in today’s markets. Id.

NASAA members have a strong interest in the outcome of this case in particular. On June 6, 2023,

state securities regulators in ten states initiated enforcement actions alleging that Coinbase violated

state securities laws by offering and selling its staking program as an unregistered security. 2 It is


1
         As used in this brief, “digital asset” refers generally to assets that are issued or transferred using distributed
ledger or blockchain technology. As such, this brief draws no meaningful distinction between “digital asset” and terms
such as “virtual currency,” “cryptocurrency,” “token,” “coin,” and “crypto asset.”
2
         Order to Show Cause, In the Matter of Coinbase Global, Inc. and Coinbase, Inc., Admin. Order No. SC-
2023-0009 (Ala. Sec. Comm., June 6, 2023), https://bit.ly/3ZMsYa6; Desist and Refrain Order and Notice of Intent
to Issue Order Levying Administrative Penalties, Commissioner v. Coinbase Global, Inc. and Coinbase, Inc. (Cal.
Dept. of Fin. Prot. and Innovation, June 6, 2023), https://bit.ly/3RS1TjU; Notice of Hrg., In the Matter of Coinbase,
Inc. and Coinbase Global, Inc., File No. 2300225 (Ill. Sec. Dept., June 6, 2023), https://bit.ly/3tv9EC2;
Administrative Complaint, Dept. of Fin. Inst. v. Coinbase Global, Inc. and Coinbase, Inc., Admin. Action No. 2023-
AH-0011 (Ky. Div. of Sec., June 6, 2023), https://bit.ly/3tyt6he; Summary Order to Cease and Desist and Order to
Show Cause, In the Matter of Coinbase Global, Inc. and Coinbase, Inc., No. 2023-0130 (Md. Sec. Div., June 6,

                                                            1
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virtually certain that Coinbase and others would attempt to use an adverse outcome in this case to

impede the states’ ability to protect investors by enforcing state securities laws.

                                              INTRODUCTION

         The Securities and Exchange Commission (“SEC”) has alleged that Coinbase 3 violated the

Securities Exchange Act of 1934 (“Exchange Act”) and the Securities Act of 1933 (“Securities

Act”) by acting as an unregistered securities exchange, broker, and clearing agency, and by offering

and selling unregistered securities. As a core component of these allegations, the SEC takes the

unremarkable position that Coinbase’s staking program, as well as at least thirteen of the digital

assets available for trading through Coinbase, are “investment contracts,” and therefore subject to

the federal securities laws.

         The SEC’s theory in this case is consistent with the agency’s longstanding public position,

the positions advanced by state securities regulators, and even the understanding of digital asset

issuers. It is also well within the bounds of established law. The Court should reject Coinbase’s

attempt to narrow and misapply the established legal framework in order to avoid being subject to

the same regulatory obligations as all other participants in the Nation’s securities markets. And

the Court should decline to treat digital assets as somehow special. While they receive outsized

attention from the media and regulators because they are aggressively marketed and fertile grounds



2023) https://bit.ly/3tqWciV; Summary Penalty and Cease and Desist Order, In the Matter of Coinbase Global, Inc.
and Coinbase, Inc. (N.J. Bureau of Sec., June 6, 2023), https://bit.ly/46C04M2; Order to Cease and Desist, In the
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https://bit.ly/3tnhC0a; Summary Order to Cease and Desist, Revoking Exemptions, and Imposing Civil Penalties, In
the Matter of Coinbase, Inc. and Coinbase Global, Inc., DFI Case No. S-246912 (EX) (Wis. Div. of Sec., June 6,
2023), https://bit.ly/3LSxfTR.
3
         This brief uses “Coinbase” generically to refer to Coinbase, Inc., Coinbase Global, Inc., and both
collectively.

                                                          2
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for fraud, that attention belies the very limited size and significance of this “industry” in the context

of the broader U.S. economy.

         The Court should deny Coinbase’s motion in its entirety.

                                            ARGUMENT

    I.      The SEC’s position that certain digital assets available for trading through
            Coinbase are investment contracts, and therefore securities, is not novel or
            extraordinary.

         Although Coinbase attempts to cast the SEC’s enforcement action as “novel” and

“extraordinary,” it is neither. The SEC’s position that certain digital assets are investment contracts

under the established legal framework under SEC v. W.J. Howey Co., 328 U.S. 293 (1946) (the

“Howey test”), is well within the bounds of established law. It is also consistent with the SEC’s

longstanding public position, the position advanced by state securities regulators, and the

understanding of digital asset market participants. As such, it is unnecessary for the SEC to wait

for explicit Congressional authorization before applying established law to every new set of facts.

            a. Congress defined “security” broadly in order to effectively regulate
               investments, in whatever form they may take.

         In enacting the federal securities laws, Congress recognized that securities are “intricate

merchandise” and that the business of offering and selling them presents copious opportunities for

fraud and other abusive practices. H.R. Rep. No. 73-85, 1933 WL 983, at **2-3, 8 (1933). In

order to ensure that the laws would be fit for the purpose of eliminating these dangers, Congress

“enacted a definition of ‘security’ sufficiently broad to encompass virtually any instrument that

might be sold as an investment.” Reves v. Ernst & Young, 494 U.S. 56, 60-61 (1990). Among the

wide array of instruments and transactions included in the definition are some investments “of

more variable character” that “were necessarily designated by more descriptive terms, such as . . .

‘investment contract’ . . . .” SEC v. C.M. Joiner Leasing Corp., 320 U.S. 344, 351 (1943) (emphasis


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added). 4 The “touchstone” of an investment contract is “an investment in a common venture

premised on a reasonable expectation of profits to be derived from the entrepreneurial or

managerial efforts of others.” United Housing Found., Inc. v. Forman, 421 U.S. 837, 852-53

(1975). See also Plaintiff’s Memorandum of Law in Opposition to Defendants’ Motion for

Judgment on the Pleadings (“Opp.”) at 6-7 (Oct. 3, 2023). 5

        In analyzing an investment under the Howey test, “form should be disregarded for

substance and the emphasis should be on economic reality.” Tcherepnin v. Knight, 389 U.S. 332,

336 (1967) (citing Howey, 328 U.S. at 298). The test “embodies a flexible rather than a static

principle, one that is capable of adaptation to meet the countless and variable schemes devised by

those who seek the use of the money of others on the promise of profits.” Howey, 328 U.S. at 299.

In other words, the Howey test is meant to be sufficiently flexible to encompass all manner of

technological and other innovations in the securities markets, including securities sold and traded

on blockchains. Such an approach “permit[s] the SEC and the courts sufficient flexibility to ensure

that those who market investments are not able to escape the coverage of the Securities Acts by

creating new instruments that would not be covered by a more determinate definition.” Reves, 494

U.S. at 63 n.2. Accordingly, the Court should reject Coinbase’s attempt to cabin the term

“investment contract” into a restrictive reading based on the history that preceded the development

of the federal securities laws because doing so would ignore both the Supreme Court’s intentional




4
          While most state securities laws define “security” by reference to a substantially similar, broad list of
instruments and transactions, including investment contracts, see Uniform Securities Act (1956), § 401(m), available
at https://bit.ly/3P4WSme; Uniform Securities Act (2002), § 102(28), available at https://bit.ly/3Q9qnnA, this brief
does not attempt to account for or describe all state law variations in the definition of “security.”
5
          Most states have adopted the Howey test to define “investment contract,” although many states’ laws include
alternative tests. See, e.g., State v. Hawaii Market Center, Inc., 485 P.2d 105, 109-11 (Haw. 1971) (applying the
alternative “risk capital” test); 950 Mass. Code Regs. 14.401, “Investment Contract” at (2) (defining “investment
contract” to include same).

                                                         4
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articulation of an expansive formula applicable to investments generally, as well as the consistently

flexible and investor protection-oriented jurisprudence that has followed.

         Further, the Howey test does not differentiate between primary and secondary market

transactions. Such a differentiation would run counter to the economic reality of such transactions.

In any secondary market transaction, whether blind or face-to-face, a seller can only sell the

interest that she has. If she has a security, and sells that security, then the buyer purchased her

security. Just like the blind bid-ask transactions conducted on the Coinbase platform, an investor

who buys shares of public company stock on an exchange has no reason to believe that the

proceeds from his purchase will go directly to the company issuer. Indeed, the more likely scenario

is that the issuer receives no new capital directly as a result of that transaction. And yet, the shares

remain securities because the nature of the interest embodied in them does not change when they

are resold. At minimum, recent decisions from other judges in this District demonstrate that it is

far from settled law that such a distinction exists. See SEC v. Terraform Labs Pte. Ltd., --- F. Supp.

3d ---, 2923 WL 4858299, at *15 (S.D.N.Y. July 31, 2023) (rejecting the approach adopted in SEC

v. Ripple Labs Inc., --- F. Supp. 3d ---, 2023 WL 4507900 (S.D.N.Y. July 13, 2023)). For these

reasons, as well as those provided by the SEC, Opp. at 17-21, the Court should decline to draw

any distinction under the Howey test between digital assets based on their manner of sale.

             b. The SEC and state securities regulators have taken a consistent position that
                certain digital assets are investment contracts.

         In July 2017, the SEC issued its Report of Investigation Pursuant to Section 21(a) of the

Securities Exchange Act of 1934: The DAO (the “DAO Report”). Exch. Act Rel. No. 81207 (July

25, 2017), https://bit.ly/3ZUGNU8. 6 In the DAO Report, the agency found that tokens offered


6
         Section 21(a) of the Exchange Act authorizes the SEC “to publish information” related to any Exchange
Act violation it discovers. 15 U.S.C. § 78u(a)(1). In lieu of bringing an enforcement action, which may have
limited impact, the SEC can use a Section 21(a) report to explain its views on “substantial issues of public concern,

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and sold by a virtual organization known as “The DAO” were securities and therefore required to

be registered or exempt from registration under the federal securities laws. Id. at 11-16. The SEC

also found that certain online platforms that matched and executed orders for the tokens

“appear[ed] to have satisfied the criteria” to be exchanges by virtue of matching and executing

orders for the DAO tokens. Id. at 17. The DAO Report thus established the SEC’s position

publicly that certain digital assets are investment contracts under the Howey test and it made clear

that entities that effect or facilitate transactions in digital asset securities for others are subject to

the securities laws as well.

         Following the issuance of the DAO Report, both former SEC Chair Jay Clayton and current

Chair Gary Gensler have been steadfast in the view that some digital assets are indeed securities

under recognized frameworks. See, e.g., Gary Gensler, Testimony Before the Subcommittee on

Financial Services and General Government, U.S. House Appropriations Committee (“Gensler

Testimony”) (May 26, 2021), https://bit.ly/3tsrHsL (“Many of these tokens are investment

contracts under the securities law.”); 7 Jay Clayton, Statement on Cryptocurrencies and Initial Coin

Offerings (Dec. 11, 2017), https://bit.ly/3Q71jNZ (“It has been asserted that cryptocurrencies are

not securities and that the offer and sale of cryptocurrencies are beyond the SEC’s jurisdiction.




widespread investor impact, or other matters of significance relating to the federal securities laws . . . .” The
Commission’s Practice Relating to Reports of Investigations and Statements Submitted to the Commission Pursuant
to Section 21(a) of the Securities Exchange Act of 1934, Exch. Act. Rel. No 15664 (Mar. 21, 1979).
7
          Coinbase’s argument that Chair Gensler’s testimony that “there is not a market regulator around these
crypto exchanges” and that “trading in . . . crypto assets do[es] not have a regulatory framework,” demonstrates that
the SEC lacks any authority over digital asset securities is without merit. See Memorandum of Law in Support of
Coinbase’s Motion for Judgment on the Pleadings (“Mot.”), 4, 22 (Aug. 4, 2023). Chair Gensler’s statements are
better understood merely to reflect the simple fact that Congress has not specified a single market regulator for
digital asset trading entities from among the multiple existing agencies that could lawfully assert regulatory
authority over portions of the digital asset markets. There is a significant difference between the lack of a single
designated, top-down regulator for a particular type of business or activity and the lack of (or inadequacy of
existing) authority to address digital asset-related issues overall. The SEC has the authority to regulate both
companies that issue digital asset securities and the businesses that are involved in trading those assets.

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Whether that assertion proves correct with respect to any digital asset that is labeled as a

cryptocurrency will depend on the characteristics and use of that particular asset.”).

        By May 2021, the SEC had brought 75 cases in this area, Gensler Testimony, supra, and

today that number is over 100, see SEC.gov, Crypto Assets and Cyber Enforcement Actions,

https://bit.ly/46kx3Vn (last visited Oct. 2, 2023). These include actions against firms like

Coinbase, specifically alleging that they acted as unregistered broker-dealers by soliciting and

facilitating the purchase and sale of digital assets in connection with initial coin offerings (“ICOs”)

and secondary market trading. See, e.g., Order, In the Matter of TokenLot, LLC, et al., File No. 3-

18739, Exch. Act Rel. No. 84075 (Sept. 11, 2018), https://bit.ly/3PKdBul (finding that entity

calling itself an “ICO Superstore” acted as an unregistered broker-dealer in connection with more

than 200 digital asset securities).

        State securities regulators have likewise taken action to protect investors from fraud and

abuse involving the offer and sale of digital asset securities, including through actions premised

on the theory that certain digital assets are investment contracts. In April 2018, a task force of

NASAA member state and provincial securities regulators began a coordinated series of

investigations into ICOs and digital asset-related investment offerings. NASAA.org, Operation

Cryptosweep 2018, https://bit.ly/45o2WLp (last visited Oct. 3, 2023). Between May 2018 and

August 2019, NASAA members conducted hundreds of investigations and brought many

enforcement actions involving ICOs and digital asset-related investments.               Press Release,

“NASAA Updates Coordinated Crypto Crackdown” (Aug. 7, 2019), https://bit.ly/46DOgcg; Press

Release,    “NASAA       Updates      Coordinated       Crypto   Crackdown”     (Aug.     28,   2018),

https://bit.ly/3QaWL96.




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         In recent years, state securities regulators have also pursued enforcement actions against a

wide variety of digital asset issuers and platforms. See Danny Nelson, State Regulators Crack

Down on Voyager Digital's Crypto Interest Offering, Coindesk (updated May 11, 2023),

https://bit.ly/3PQ7y7y; Press Release, “NASAA and SEC Announce $45 Million Settlement with

Nexo Capital Over Interest-Bearing Accounts” (Jan. 19, 2023), https://bit.ly/3tmoLhp; NASAA

2022 Enforcement Report, 14-16 (Sept. 2022), https://bit.ly/47RbtJs (summarizing state

enforcement actions); Press Release, “NASAA and SEC Announce $100 Million Settlement with

BlockFi Lending, LLC” (Feb. 14, 2022), https://bit.ly/3tpMLjH; Troutman Pepper Hamilton

Sanders LLP, Regulatory Oversight Blog, State Regulators Block Celsius From Offering Interest-

Bearing Cryptocurrency Accounts (Oct. 8, 2021), https://bit.ly/3QcKIbI. 8 And in June 2023, state

securities regulators in ten states initiated enforcement actions alleging that Coinbase violated state

securities laws by offering an unregistered investment contract security, specifically, the Coinbase

staking program. See note 2, supra.

         The understanding that some digital assets are or could be considered securities is not

unique to regulators. Some companies have conducted digital asset offerings within the securities

law framework, specifically the securities registration exemptions available under SEC Regulation




8
          States have advanced a similar position in other proceedings, including by filing objections in the bankruptcy
court to the proposed acquisition of Voyager Digital LTD customer account assets by FTX, and later by Binance.us.
Specifically, Texas and New Jersey objected on the basis, among others, that each entity appeared to be offering digital
asset staking or “yield” programs as unregistered securities, in violation of state securities laws. See First Amended
Decl. of Joseph Jason Rotunda in support of Objection of the Texas State Securities Board and the Texas Dept. of
Banking to Final Approval of the Adequacy of the Debtors’ Disclosure Statement and Confirmation of the Chapter 11
Plan, In re: Voyager Digital Holdings, Inc. et al., Case No. 22-10943, Dkt. 1086-1, at ¶¶ 39-41, 70-103 (Bankr.
S.D.N.Y. Feb. 24, 2023); Decl. of Joseph Jason Rotunda in support of Texas State Securities Board’s and Texas
Department of Banking’s Limited Objection to the Debtors Motion for Entry of an Order, In re: Voyager Digital
Holdings, Inc. et al., Case No. 22-10943, Dkt. 536 (Bankr. S.D.N.Y. Oct. 24, 2022); The New Jersey Bureau of
Securities’ Limited Objection to Final Approval, In re: Voyager Digital Holdings, Inc. et al., Case No. 22-10943, Dkt.
1087 (Bankr. S.D.N.Y. Feb. 24, 2023) (joining Texas objection at Dkt. 1086); Response of the New Jersey Bureau of
Securities to Debtors’ Motions, In re: Voyager Digital Holdings, Inc. et al., Case No. 22-10943, Dkt. 808, at ¶ 39
(Bankr. S.D.N.Y. Jan. 4, 2023) (joining objections previously filed by Texas and other states, including Dkt. 536).

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D and Regulation A.       See, e.g., SEC EDGAR, Company Search Results, “Open Props Inc.,”

https://bit.ly/48L12Y9 (offered pursuant to Regulation A); SEC EDGAR, Company Search Results,

“Hiro Systems PBC,” https://bit.ly/46mT4mr (offered pursuant to Regulation A, previously

Regulation D); SEC EDGAR, Company Search Results, “CERES Coin LLC,” https://bit.ly/45hwIlf

(offered pursuant to Regulation A); SEC EDGAR, Company Search Results, “INX Ltd.,”

https://bit.ly/3ZOv09M (registered offering). See also Complaint (“Compl.”), ¶ 129 (June 6, 2023)

(alleging Solana Labs sold approximately $23 million worth of SOL between 2018-2020 pursuant

to Rule 506(c) of Regulation D) and ¶ 233 (alleging Dapper Labs sold approximately $40 million

worth of FLOW between 2019-2021 pursuant to Rule 506(b) of Regulation D). Coinbase is

therefore wrong to argue that it is settled as a matter of law that digital asset issuances are not

securities when courts, government agencies, and private actors have found that they are.

           c. It cannot be the law that an agency must have explicit Congressional
              authorization to apply existing law to new fact patterns in complex and
              evolving financial markets.

       By pursuing this enforcement action against Coinbase, the SEC has not laid claim to any

authority that it has not had for decades. See Compl. at ¶¶ 372-74 (alleging violations of 15 U.S.C.

§ 78e), ¶¶ 375-77 (alleging violations of 15 U.S.C. §, 78o(a)), ¶¶ 378-80 (alleging violations of 15

U.S.C. § 78q-1(b)), 381-85 (alleging violations of 15 U.S.C. §§ 78e, 78o(a), 78q-1(b)), and ¶¶ 386-

99 (alleging violations of 15 U.S.C. §§ 77e(a) and (c)); Howey, supra. The SEC has alleged that

certain digital asset tokens and digital asset investment products are investment contracts, and thus

securities, under the established legal framework of Howey and its progeny. See, e.g., 15 U.S.C.

§§ 77a(1), 78c(a)(10); Howey, supra. The SEC is not making new policy; it is enforcing existing

law. See Opp. at 21-23.

       Coinbase points to the “more than 20 legislative proposals [considered by Congress in

recent years] concerning regulation of digital assets.” Mot. at 23. However, none of these
                                                 9
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proposals have been enacted to date. Although Congress may eventually legislate a comprehensive

regulatory framework for digital assets in the future, it has not done so. It is also possible that

Congress will not do so. Thus, it cannot be said that Congress has made any policy decision

rejecting the application of the federal securities laws to digital asset investments that are

securities. Unless and until Congress enacts law to the contrary, both regulators and the courts are

empowered and obligated to apply the law as it exists today.

   II.      There is no reason for the Court to import Coinbase’s additional requirements
            into the Howey test.

         Appearing to concede that the SEC has adequately pled that the thirteen named tokens

available for trading through Coinbase meet each element of the Howey test, Coinbase instead asks

the Court to read two new requirements into the framework and dismiss the Complaint for the

SEC’s purported failure to plead them. Specifically, Coinbase contends that the Howey test

requires: (1) formal “contractual undertakings” between the buyer and seller, and (2) that investors

share directly in the profits, income, or assets of the issuer’s business. Id. at 7-17, 18-21. But

these are not, and have never been, required elements to find an investment contract. The Court

should decline to read these new requirements into the Howey test.

            a. The Howey test does not require the existence of formal contractual
               undertakings.

         The plain text of Howey does not require formal contractual undertakings to find an

investment contract. To the contrary, the Supreme Court expressly states that “investment

contract” includes not only formal “contract[s],” but “transaction[s]” and “scheme[s],” as well.

328 U.S. at 298-99. The Howey court also explained that, where such a contract, transaction, or

scheme represents an investment in a common enterprise with an expectation of profits to be

derived from the efforts of someone other than the investor, it is “immaterial” whether the

investment is represented by a formal instrument or interest in the assets of the business. Id.

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       Additionally, the Supreme Court specifically noted that the SEC “ha[d] followed the same

definition in its own administrative proceedings.” Id. at 299 n.5 (emphasis added) (citing In the

Matter of Nat’l Resources Corp., 8 SEC 635, Sec. Act Rel. No. 2470, 1941 WL 36308 (SEC, Feb.

14, 1941)). The Howey court’s favorable citation of Nat’l Resources is significant because, in that

proceeding, the SEC determined that the investment at issue was indeed an investment contract in

the absence of formal contractual undertakings. 1941 WL 36308, at *3. Instead, similar to the

allegations in this case, the SEC focused on the fact that the issuer “made it clear in its selling

literature” that it had begun, and would continue, to engage in activity that would be economically

beneficial to investors. Id. That was precisely the test for “investment contract” that the Supreme

Court announced in Howey. And, as the SEC explains in its brief, courts have consistently applied

the Howey test without requiring formal contractual undertakings. Opp. at 11-14 (cases cited); see

also SEC v. Merchant Capital, LLC, 483 F.3d 747, 760 (11th Cir. 2007) (“A focus on the bare terms

of the legal agreement would also be inconsistent with the substance over form principle of Howey,

and would be an invitation to artful manipulation of business forms to avoid investment contract

status.”). In sum, Coinbase could not be more clearly wrong.

           b. The Howey test does not require investors to have direct interests in the
              income, profits, or assets of the business.

       On its face, Howey requires only that the investor expect to realize a profit from her

investment, not a direct interest in the income, profits, or assets of a business. 328 U.S. at 298-99

(noting that it is “immaterial” whether the investment is represented by an interest in the assets of

the business). The Supreme Court subsequently put to rest any questions about the meaning of

“profit” in SEC v. Edwards, clarifying that the required “profits” are “the profits that investors seek

on their investment, not the profits of the scheme in which they invest.” 540 U.S. 389, 394 (2004)

(emphasis added). Thus, it is not necessary that the enterprise be profitable, or even that the


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enterprise have income or assets from which those profits can be paid. 9 Again, Coinbase’s

argument ignores the law.

             c. The Court should decline to rewrite the Howey test to allow digital asset
                enterprises to evade regulatory oversight.

         The securities laws, including the definition of “security,” must be construed flexibly, not

technically or restrictively. See, e.g., Movielabs, Inc. v. Berkey Photo, Inc., 452 F.2d 662, 663-64

(2d Cir. 1971). Courts have consistently rejected previous attempts to limit the reach of the Howey

test because an unduly technical or restrictive interpretation would make it easy for wrongdoers to

evade the securities laws. See, e.g., Edwards, 540 U.S. at 394-95 (refusing to “read into the

securities laws a limitation not compelled by the language that would so undermine the laws’

purposes”); Merchant Capital, 483 F.3d at 760; SEC v. Glenn W. Turner Enters., Inc., 474 F.2d

476, 482 (9th Cir. 1973) (rejecting a strict interpretation of the requirement that profits come

“solely” from the efforts of others); see also Reves, 494 U.S. at 63 n.2.

         In Howey, the Supreme Court deliberately referred to contracts and transactions and

schemes that bear certain characteristics. 328 U.S. at 298-99. The Court should not read

Coinbase’s asserted limitation into the definition of “investment contract” because it would read

the Supreme Court’s words out of the Howey test and it would undermine the purposes of the

securities laws. See Edwards, 540 U.S. at 394-95. Adoption of Coinbase’s interpretation would

not only make it harder for the SEC to “meet the countless and variable schemes devised by those

who seek the use of the money of others on the promise of profits,” Howey, 328 U.S. at 299, but

it would also impede private litigants and potentially state securities regulators as well, given the


9
         Even if such an interest were required under the Howey test, Coinbase would not be entitled to judgment on
the pleadings regarding its staking program because investors have a direct interest in the income that Coinbase earns
through staking. See Compl., ¶ 337 (alleging that “Coinbase ‘considers itself the principal’ in staking”), and ¶ 354
(alleging that Coinbase “earns rewards,” “takes a commission,” and then “credits rewards to . . . investors’ accounts
on a pro rata basis”).

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similarities between the state and federal definitions of “security.” Investors throughout the

securities markets would thus be left more vulnerable to securities fraud and other abusive tactics.

And, as explained above, Coinbase’s additional requirements are not required under the Howey

test. The Court should therefore reject them.

     III.       The SEC has more than adequately alleged that the Coinbase staking program is
                an investment contract.

            Coinbase argues that it is entitled to judgment on the pleadings with respect to the

allegation that its staking program is offered and sold as an investment contract because (1)

Coinbase customers do not invest money in the staking program because they do not relinquish

property creating risk of loss, Mot. at 27-29, and (2) staking investors’ expected profits are not

generated by Coinbase’s essential managerial efforts, id. at 29-30. These arguments lack merit and

the Court should reject them.

                a. Coinbase customers “invest” in the Coinbase staking program.

            The “investment” prong of the Howey test requires only that the investor “commit his assets

to the enterprise in such a manner as to subject himself to financial loss.” Hector v. Wiens, 533

F.2d 429, 432 (9th Cir. 1976); accord Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., 756 F.2d 230, 239 (2d Cir. 1985) (“[F]or an investment to be a security the

investor must risk loss.”). See also Uselton v. Commercial Lovelace Motor Freight, Inc., 940 F.2d

564, 574 (10th Cir. 1991) (noting that the “investment” may be any “exchange of value”). As the

SEC alleges in the Complaint, Coinbase staking investors commit their digital assets to the staking

enterprise, Compl., ¶¶ 340-41, and subject themselves to financial loss as a result of, inter alia,

market fluctuations, “slashing,” 10 theft, or loss of private keys during the required lockup periods




10
            See Compl., ¶ 313.

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Id. at ¶¶ 315, 342-45. Coinbase also benefits from its investors’ commitment of assets to the

enterprise by obtaining more assets to stake, thereby increasing both the likelihood of earning

rewards and the magnitude of Coinbase’s return. More specifically, Coinbase receives significant

revenue from its staking operations, from which it takes a commission of up to 35% before

crediting rewards to investors on a pro rata basis. Id. at ¶¶ 328-38, 354. However, in order to earn

revenue, Coinbase must first be selected as a validator. See id. at ¶ 314. As with any pooled

vehicle, economies of scale benefit Coinbase by giving it more assets to stake, thus increasing its

chances of being selected and earning commissions. See id. at ¶¶ 314, 351, 353-56. The amount

of digital assets staked can also influence the gross amount of staking rewards from which

Coinbase can draw its commission. See id. at ¶ 351.

       Coinbase argues that customers do not “invest” in its staking program because the staking

program “creates no risk” that is not also present outside of the staking program. See Mot. at 27

(emphasis added). But the relevant inquiry is not focused on the source of the risk; the inquiry is

whether the investor risks loss of their invested capital. See Marine Bank v. Weaver, 455 U.S. 551,

558 (1982) (focus is on whether the investor “assumes the risk”); Gary Plastic, 756 F.2d at 239

(focus is on whether the investor “risk[s] loss”). Many pooled investments involve risks of loss

that are similar or identical in kind to the risks involved in conducting the underlying activity

separately. For example, investors in an exchange-traded fund or a mutual fund risk loss if the

market value of the fund’s portfolio investments declines, while individual investors would face

the same market risks if they were to invest directly in the portfolio companies outside of the fund.

That does not mean that investors in a fund do not “risk loss,” Gary Plastic, 756 F.2d at 239, within

the meaning of the securities laws.




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         Coinbase also argues, again without merit, that its customers do not “invest” in the staking

program because they technically retain legal ownership of their staked digital assets. Mot. at 28-

29. But such legal formalities must be “disregard[ed]” when applying the Howey test, in favor of

substance and economic reality. Tcherepnin, 389 U.S. at 336. The economic reality is that staking

program investors tender control of their digital assets to Coinbase and Coinbase then pools those

assets in omnibus wallets for which Coinbase retains control of the private keys. Compl., ¶¶ 340,

341, 348, 349. Coinbase treats and uses all units of each digital asset as fungible. Id. at ¶ 350.

Coinbase thus exercises complete control over the staked assets and investors risk losing their

staked assets permanently if, for example, the assets are slashed or stolen. Id. at ¶¶ 342-45. 11

There is no vault into which an investor can reach to retrieve her staked assets, and her legal

ownership does not guarantee her a replacement in the event of loss.

             b. Staking investors expect profits to be derived from the essential managerial
                efforts of Coinbase.

         Coinbase does not dispute that investors in its staking program expect to profit from their

investment. Instead, it argues (1) that those profits are derived not from its own efforts, but from

investors’ use of their digital assets; (2) that the reward payments are set by network protocols and

are the same whether customers stake through Coinbase, on their own, or through some other

service; and (3) that its efforts are purely “technical or administrative,” rather than “managerial.”

These arguments lack merit.




11
          As alleged in certain state actions, see note 2, supra, there are circumstances in which Coinbase will not
replace staked assets that are lost, including “protocol-level failures caused by bugs, maintenance, upgrades, or
general failure, the investor’s acts or omissions, the acts or omissions of any third-party service provider, a force
majeure event as defined by the [user] agreement, acts by a hacked or other malicious actor, or any other events
outside of Coinbase’s reasonable control,” and there is a chance that Coinbase will not be able to replace any slashed
or lost assets if its business is not profitable enough to do so. See Summary Order to Cease and Desist and Order to
Show Cause, ¶¶ 82-84, In the Matter of Coinbase Global, Inc. and Coinbase, Inc., No. 2023-0130 (Md. Sec. Div.,
June 6, 2023).

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        Coinbase’s argument that investing in its staking program is simply using one’s digital

assets is a curious one. On its website, Coinbase describes digital assets as “decentralized digital

money” that can be used “to pay for goods or services” without the need for traditional financial

intermediaries, “or held as part of an investment strategy.”                  Coinbase.com, What is

cryptocurrency?, https://bit.ly/46KkoLt (last visited Oct. 5, 2023) (emphasis added). Moreover,

Coinbase presents staking as an example of an investment, rather than as a use case (i.e., paying

for goods or services). Accordingly, investors in the staking program are not “motivated by a

desire to use or consume” the relevant digital assets in the same way that the renters of New York

City apartments in Forman were “attracted solely by the prospect of acquiring a place to live.”

421 U.S. at 853.

        Even if Coinbase were correct that the expected returns do not vary as a result of investors’

use of the staking program, rather than staking on their own, 12 Coinbase would still be incorrect

to contend that fixed returns preclude an investment contract. In Edwards, the Supreme Court

definitively held it is not necessary for the issuer of an investment contract to be able to influence

the amount of any expected returns. 540 U.S. at 394-97 (rejecting a distinction between fixed and

variable returns). As made clear in Edwards, it is especially important for the Howey test to reach

“investments pitched as low-risk (such as those offering a ‘guaranteed’ fixed rate of return)”

because they are “particularly attractive to individuals more vulnerable to investment fraud,

including older and less sophisticated investors.” Id. at 394.

        Finally, Coinbase’s efforts are not merely “technical” or “ministerial.” To the contrary,

Coinbase undertakes serious entrepreneurial and managerial efforts to pool investors’ digital assets




12
        See Compl., ¶ 351 (alleging otherwise). See also Blocknative, How Validators Can Maximize Ethereum
Block Rewards (Feb. 8, 2023), https://bit.ly/3rC6ITV.

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and employ them to generate significant profit for both Coinbase and its investors. Coinbase pools

investors’ assets in omnibus wallets; determines how and when to stake investors’ digital assets;

operates validator nodes; takes action to prevent malicious behavior or hacks, protect keys, and

increase server uptime; and periodically credits investors’ Coinbase accounts with rewards after

taking its commission. See Compl. , ¶¶ 312-21, 341, 348-49, 352-54, 363, 364. 13 Even if Coinbase

customers could, in theory, download, configure, and operate Coinbase’s staking software

effectively from their home computers, the same is true of any pooled investment vehicle; i.e., an

investor could construct the economic equivalent of the pooled vehicle’s portfolio by buying

individual securities. In reality, and as underscored by Coinbase, staking can be “confusing,

complicated, and costly,” and requires a “fairly high level of technical knowledge” and “state-of-

the-art encryption and security.” See id. at ¶¶ 360-64. There are also economic barriers that make

it difficult for individual investors to earn the same rewards by staking their digital assets alone.

For instance, staking protocols typically require a minimum amount of digital assets in order to

participate, see id. at ¶ 318, and the chance of being selected to validate a block is typically

dependent on staking a larger amount of digital assets and exhibiting less server downtime, see id.

at ¶ 314. Coinbase holds out its staking program as a solution to these challenges for individual

investors. See id. at ¶¶ 353, 360. As a result of pooling investors’ assets, along with Coinbase’s

substantial advantage in both resources and expertise, Coinbase’s staking program is far more

likely to generate returns than any investor acting alone. In sum, Coinbase engages in significant

and essential entrepreneurial and managerial efforts in the operation of its staking program. The

profits expected by both Coinbase and its investors are dependent on those efforts.




13
       Accord, state actions in note 2, supra.

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   IV.      Coinbase overstates the size and economic significance of the “digital asset
            industry.”

         Coinbase dubiously casts the “digital asset industry” as “a significant portion of the

American economy,” Mot. at 21 (quoting West Virginia v. EPA, 142 S. Ct. 2587, 2608-09 (2022)),

on par with the American energy and tobacco industries and the like, id. (citing Util. Air. Reg. Grp.

v. EPA, 573 U.S. 302, 324 (2014); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159

(2000)).    However, Coinbase overstates both the size and significance of this “industry,”

particularly the portion that securities regulators oversee.

         As an initial matter, digital assets cannot reasonably be considered a sufficiently significant

component of the American economy because there is no practical economic use case identified

or widely adopted for the vast majority of digital assets, other than speculation. With very few

exceptions, digital assets are not widely accepted to pay for goods or services, nor can they be used

to satisfy obligations to the government such as fees or taxes. As a class of assets, digital assets

are not economically useful.

         Coinbase claims in its Answer that the “digital asset industry” is worth “around $1 trillion,”

but that number is unhelpful here because, as Coinbase recognizes, it is a global market

capitalization figure. Answer, Prelim. Stmt. at ¶ 21 and n.23 (June 28, 2023). In a December 2022

interview, Chair Gensler noted that the number is “far smaller” in the American market. Jennifer

M. Schonberger, SEC’s Gensler: The ‘runway is getting shorter’ for non-compliant crypto firms,

Yahoo! Fin. (Dec. 7, 2022), https://yhoo.it/3rF57wu. Regardless of the raw numbers, it is also

important to note that the market valuation is largely driven by digital asset prices, particularly




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Bitcoin. 14 Financial Stability Oversight Council (“FSOC”), 15 Report on Digital Asset Financial

Stability Risks and Regulation, 9 (Oct. 3, 2022), https://bit.ly/46mnhCb. But market capitalization

is an unreliable measure because it can fluctuate significantly, such as when it rose from about

$200 billion in April 2020 to nearly $3 trillion in November 2021, then fell back to about $900

billion by July 2022. Id.

        The overall impact of digital assets on the U.S. and global financial system to date has been

limited. For example, the FSOC recently found that digital assets are “still relatively small in the

scope of the global financial system,” id., and noted that “the turmoil in the crypto-assets

ecosystem [in 2022] did not have notable effects on the traditional financial system” because of

“the limited overall scale of crypto-asset activities,” FSOC, 2022 Annual Report, 33 (Dec. 16,

2022), https://bit.ly/46mnm8X.

        Furthermore, survey data suggest that the percentage of Americans comfortable investing

in digital assets dropped significantly from 2021 to 2022, including a decrease of 20% among

Americans between the ages of 26 and 51. Id. And although Coinbase offers that “[o]ne in five

adults in the United States has owned a cryptocurrency,” Mot. at 22, industry data suggests that

digital assets are highly concentrated among the top 1% of asset holders, FSOC Annual Report at

33, further undercutting the significance of digital assets to the broader economy. As such, the

“digital assets industry” today bears no meaningful comparison in terms of economic and political




14
         The SEC has never asserted that Bitcoin is a security and NASAA is unaware of any state securities regulator
doing so.
15
          The FSOC was established in 2010 under the Dodd-Frank Wall Street Reform and Consumer Protection
Act. It provides comprehensive monitoring of the stability of our Nation’s financial system. FSOC members
include, inter alia, the Chairs of both the SEC and the Commodity Futures Trading Commission, as well as a state
securities commissioner or officer performing like functions (currently Commissioner Melanie Senter Lubin of the
Maryland Securities Division) as a nonvoting member. See Treasury.gov, Financial Stability Oversight Council,
https://bit.ly/3LTH57R (last visited Oct. 6, 2023).

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significance to the tobacco industry, 16 the U.S. energy market, 17 eviction protections during the

COVID-19 pandemic, 18 and student debt relief 19 that have been the subject of the Supreme Court’s

recent major questions jurisprudence.

                                                 CONCLUSION

       For the reasons above, in addition to the reasons provided by the SEC in its brief, Coinbase

is not entitled to judgment on the pleadings and its motion should be denied.



Dated: October 10, 2023                                     Respectfully submitted


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16
       See Brown & Williamson, supra.
17
       See West Virginia and Util. Air, supra.
18
       Ala. Assn. of Realtors v. Dept. of Health and Human Servs., 141 S. Ct. 2485 (2021).
19
       Biden v. Nebraska, 143 S. Ct. 2355 (2023).

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing document was filed on

October 10, 2023, with the Clerk of the Court by using the CM/ECF system, which will effect

electronic service on all parties and attorneys registered to receive notifications via the CM/ECF

system.

       A courtesy copy is being sent to Chambers by United States mail.



Dated: October 10, 2023                             By: /s/ Vincente L. Martinez
                                                    Vincente L. Martinez
